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§ 1 1 IN THE UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF RHODE ISLAND
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UNITED STATES OF AMERICA *
6 ~k
VS. * SEPTEMBER 19, 2005
7 * 10:00 A.M.
JOEL FRANCISCO *
8 *
* * ~k ~)< * * * ~)< iv iv * k * * * * PROVIDENCE, RI
9
10 BEFORE THE HONORABLE MARY M. LISI,
11 DISTRICT JUDGE
12
jr \ (Sentencing)
§ 5 13
14 APPEARANCES:
15 FOR THE GOVERNMENT: MARY E. ROGERS, ESQ.
STEPHEN G. DAMBRUCH, ESQ.
16 U.S. Attorney'S Office
50 Kennedy Plaza
17 Providence, RI 02903
18 FOR THE DEFENDANT: DAMON D'AMBROSIO, ESQ.
160 Plainfield Street
19 Providence, RI 02909
20 Court Reporter: Karen M. Zinni, RPR-RMR-CRR
0ne Exchange Terrace
21 Providence, RI 02903
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Proceeding reported and produced by computer-aided
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KAREN M. ZINNI, RPR-RMR-CRR

 

 

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I N D E X

GOVERNMENT WITNESS

 

 

Robert Enright

Direct Examination by MS. Rogers
CrOSS-Examination by Mr. D'AmbrOSiO
Redirect Examination by MS. ROgerS

E X H I B I T S

GOVERNMENT FOR ID

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PAGE

 

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IN FULL

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19 SEPTEMBER 2005 ~- 10:00 A.M.

THE COURT: This is the matter of the United
States versus Joel Francisco. The matter is before
Court this morning for imposition of sentence.

The probation officer has completed the
pre-sentence report and has done both a guidelines
calculation and also a recommendation with respect
the statutorily required sentence to be imposed in
case and that is of life imprisonment with respect
Count 11. As to Count 111 -- Count 1, rather, the
guideline range is 360 months to life in prison.

1 know that the Defendant, through counsel,
made certain objections to the pre-sentence report;
1'll ask you, Mr. D'Ambrosio, whether in view of th
statutorily required sentence in this case you're
pressing those objections this morning.

MR. D'AMBROSIO: 1 am, your Honor.

THE COURT: 0kay. Have you had an opportuni
to review the pre-sentence report with your client?
MR. D'AMBROSIO: 1 have, your Honor.

THE COURT: 0kay. Before 1 address your
objections, Ms. Rogers, have you had an opportunity
review the pre-sentence report?

MS. ROGERS: Yes, your Honor.

THE COURT: 1 received this morning the

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Government's response to the Defendant's objections.
Mr. D'Ambrosio, have you had an opportunity to review
the Government's response?

MR. D'AMBROSIO: 1 have not, your Honor.

THE COURT: You have not?

MR. D'AMBROSIO: 1 have not.

THE COURT: Well, do you have it?

MR. D'AMBROSIO: No, 1 don't.

THE COURT: You mailed it on Friday?

MS. ROGERS: Yes, your Honor.

MR. D'AMBROSIO: My office doesn't receive mail
on Saturdays, Judge.

THE COURT: Well, why don't you give him a copy,
and we'll recess for a half hour so you can read it.

MR. D'AMBROSIO: Your Honor, may 1 be heard on
one other matter? 1'm speaking particularly of the
lateness of this proceeding.

The Court will note within the parameters of the
Defendant's objections to the pre-sentence report 1
have referenced a certain post-conviction application
being made on each of the predicate offenses which give
rise to this.

These matters came on in the Superior Court last
Wednesday and Thursday on the state's motion to dismiss

each of those. Both of those motions to dismiss were

 

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denied, and they are presently scheduled for decision
on September 30th before Magistrate McAtee. 1 found
this out Thursday afternoon.

Again, due to the lateness of it, 1 haven't had
time to file a written request; but 1 would be moving
for a continuance if the Court would entertain it.

THE COURT: Why didn‘t you just call us,

Mr. D'Ambrosio?

MR. D'AMBROSIO: Judge, 1 thought because of the
lateness of the --

THE COURT: Pick up the telephone and call
somebody.

MR. D'AMBROSIO: Yes, Judge.

THE COURT: You‘ve got all these people in here
today. You've got your client here, the Government
here and the Court.

MR. D'AMBROSIO: Yes, your Honor.

THE COURT: 1t's a waste of everybody‘s time,
isn't it?

MR. D'AMBROSIO: 1 think it would be dependent
upon the Court's ruling on the motion. 1t may be,
Judge. 1 apologize, but 1 thought it would be more
appropriately addressed to the Court here. 1t was a
bad error of judgment on my part. 1'll accept that

responsibility, your Honor.

 

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THE COURT: What motion is it that's pending in
state court? You had requested a continuance from this
court, which 1 gave you.

MR. D'AMBROSIO: That is correct, your Honor.

THE COURT: What motion is pending?

MR. D'AMBROS10: There are two applications for
post-conviction relief. They are pending before
Magistrate McAtee for a decision and review of the
transcript on September 30th.

THE COURT: What relief are you asking for in
state court?

MR. D'AMBROSIO: That each of the convictions,
sentences in those cases be vacated and the matters be
reassigned for either pretrial conference or trial.

THE COURT: Did he serve sentences on those
cases?

MR. D'AMBROSIO: Yes, Judge. Well, sentence was
imposed.

THE COURT: Were they convictions after a trial
or upon a guilty plea?

MR. D'AMBROSIO: Each was upon a plea of nolo
contendere in state court.

THE COURT: Were they counselled pleas?

MR. D'AMBROSIO: Yes, they were, your Honor.

THE COURT: Approach. Barry.

 

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(Bench conference held on the record)

THE COURT: Tell me again procedurally what the
state filed on those cases.

MR. D'AMBROSIO: The state, per its counsel,
filed a motion to dismiss the Petitioner's application
for post-conviction relief seeking to vacate the
judgment and sentence imposed on each of those cases.
Each was a simple possession charge.

THE COURT: A simple possession?

MR. D'AMBROSIO: A simple possession charge.
Those are the two predicate offenses here.

THE COURT: And so tell me what happened with
the state's motion.

MR. D'AMBROSIO: The state's motion, the state
actually withdrew its motion, so it was not being
pressed, and the matter's been assigned for decision.

THE COURT: Oh, that's different. Then it
wasn't dismissed by the Court. You told me that the
Court dismissed the motion.

MR. DAMBRUCH: 1 spoke to Assistant Attorney
General Stacey Veroni who is representing the State of
Rhode 1sland in that matter, and my understanding is
that the motion to dismiss was filed based upon the
fact that Defendant had not filed appropriate paperwork

to pursue these proceedings.

 

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The Defendant was given some additional time by
the Court, still hadn't filed the paperwork, so the
motion was set down for hearing. Apparently now
Mr. D'Ambrosio has satisfied the requirement of just
filing the appropriate paperwork, This was not a
motion based upon the merits.

Furthermore, in speaking to Miss Veroni, she
advised me the Defendant was counselled on both of

these pleas, 1 believe. 1t was by Attorney David

Cooper.

MR. D‘AMBROSIO: That‘s correct.

MR. DAMBRUCH: He's private counsel. These
things happened some time ago. There's been no

complaint with regard to the sufficiency of the
evidence or the voluntary and knowing nature of the
plea up until the point that he's now convicted; and
because he's facing a life sentence, he wants to
relitigate these matters.

So any delay that has occurred with the
post-conviction relief 1 would argue is directly
attributable to the Defendant in that he failed to --
first, waited a whole lot of time before moving at all
and then, secondly, failed to file the appropriate
paperwork until the state basically forced his hand by

way of a motion to dismiss.

 

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THE COURT: Barry, tell me where in the report
you talk about the statutory penalty. Is it referenced
in any of the body of the report?

THE PROBATION OFFICER: 1t Should be on that
page 1 believe you're looking at now, Judge.

THE COURT: Those are the enhanced penalties.
1s it based on him having two prior drug trafficking
offenses?

THE PROBATION OFFICER: 1t'S based on the motion
that the Government filed for this case.

MR. DAMBRUCH: The statute requires two prior
felony drug convictions, and the Government filed an
851 1nformation, your Honor, citing to and including
certified copies of those convictions in support of its
position.

THE COURT: Okay. Tell me which ones they are.

MR. DAMBRUCH: 1f 1 may have a moment, we have
the document here.

(Pause)

MR. DAMBRUCH: Your Honor, the two convictions
at issue are the February 4, 1998, conviction for
possession of cocaine.

THE COURT: Just a minute.

MR. DAMBRUCH: Which is on page 8 of the report,

your Honor.

 

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THE COURT: Was it simple possession?

MR. DAMBRUCH: 1t was, your Honor, yes.

THE COURT: And that counts?

MR. DAMBRUCH: 1t does, your Honor, The statute
requires conviction for a prior felony drug offense.
1t does not require that there be any involvement of
distribution.

THE COURT: Okay.

MR. DAMBRUCH: The second conviction follows
immediately after on page 8. 1t's --

THE COURT: Paragraph 33?

MR. DAMBRUCH: That's correct, your Honor, yes.
Those are two separate cases that were disposed of
before the Superior Court.

THE COURT: Okay. And this is by virtue of
Section 851?

MR. DAMBRUCH: By virtue of Section 851 is the
section that allows us to move, and then the language
with regard to the prior felony drug conviction is
841(a)(1) and (b)(1)(A).

'THE COURT: So he pled out on those, he was
represented by counsel, he served the sentence and you'
have a motion for what?

MR. D'AMBROSIO: An application for

post-conviction relief under the Rhode ISland General

 

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Laws. Essentially both of the cases have probable
cause issues, 1 would say. That's the sum and
substance of each of the cases.

1n one case he was stopped on the street corner,
told to raise his hands without any wrongdoing. 1n

another he was taken out of the passenger side of a

‘vehicle, patted down. Apparently it was -- 1'm trying

to recall if it was a hard object in his pocket, and
another bag of cocaine was found.

THE COURT: 1 don't know whether the state court
is going to grant you the relief you're asking for.
You're telling me the state is opposing the motion on
the merits?

MB. DAMBRUCH: Absolutely, your Honor. These
were counselled pleas that occurred in 1998,

THE COURT: Okay. All right. 1'm going to deny
your request for a continuance today. 1t seems to me
that you can bring these proceedings on a parallel
vein. 1'll impose sentence today.

You've got a year from today, 1 think, to come
back and file a motion in this case if you're
successful over there; but 1 think to put this off any
longer, 1've already given you -- didn‘t 1 give you
about 60 days or so?

MR. D'AMBROSIO: You did, your Honor. That's

 

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why 1 thought the Court would rule in this fashion.

THE COURT: But, seriously, if you're going to
ask for a continuance, don't bring all these people in
here. 1 would have been more inclined to give you a
couple of weeks if you had called in on Thursday and
told us what the story was.

MR. D‘AMBROSIO: Your Honor, may 1 ask one other
thing? The Court has given me some time to look at the
Government's response, and 1'm grateful. Speaking with
the Government today, 1 believe the Government may be
looking toward going into evidence. 1 was not aware
this was going to be an evidentiary hearing today.

THE COURT: Well, you're objecting to two parts
of the pre-sentence report, one, his gang affiliation
and, two, obstruction and, three, 1 guess, the third is
whether or not he was a leader.

The gang affiliation doesn't affect the
guidelines computation, but whether or not he was a
leader and whether or not he obstructed justice
certainly affects the guidelines computation. So it
seems to me the only way they can prove that is to put
evidence in.

MR. D'AMBROSIO: Okay. That's fine. 1 just
wasn't --

THE COURT: So why don't you take a few minutes

 

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and read the Government's objection to or response to
your objections, and then 1'll come out and continue
this.

MR. DAMBRUCH: Thank you, Judge.

(End of bench conference)

(Recess)

THE COURT: Mr. D'Ambrosio, have you now had an
opportunity to review the Government's response to your
objections to the pre-sentence report?

MR. D'AMBROSIO: 1 have, your Honor. Thank you.

THE COURT: And you're prepared to go forward?

MR. D'AMBROSIO: Yes, your Honor please.

THE COURT: 1'11 take up each of your objections
in order.

MR. D'AMBROSIO: Yes, your Honor.

THE COURT: Would you come up to the podium,
please. The first objection that you have really does
not affect the guidelines calculation.

MR. D'AMBROSIO: That's correct, Judge.

THE COURT: And so -- and the Government's
response indicates that there are three other
1ndictments pending against this Defendant, and so the
probation officer correctly wrote that there are
pending or, rather, related cases.

Your second objection relates to a statement in

 

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the prosecution version.

MR. D'AMBROSIO: That is correct.

THE COURT: Are you pressing that objection?

MR. D'AMBROSIO: Yes, your Honor please.

THE COURT: Okay. And, Ms. Rogers, is this one
of the matters that you're prepared to present evidence
on this morning?

MS. ROGERS: Yes, your Honor.

THE COURT: Okay. We'll hold that, then,
pending the Government's opportunity to present
evidence. My recollection, Mr. D'Ambrosio, is that the
Government purposefully withheld that evidence during
trial because it was more prejudicial than probative in
that particular case.

Your third objection relates to paragraph number
12, and that one 1 guess the Government also is
intending to offer evidence on. 1s that right,

Ms. Rogers?

MS. ROGERS: Your Honor, 1 have gone over this
with the officer who testified as well as the assisting
detective during the trial, and that evidence was
presented during the trial. We're prepared to offer it
again but in order to initially save time offer or ask
the Court to take judicial notice of the record.

THE COURT: Well, do you have a copy? This case

 

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was tried so long ago, 1 honestly don't have a
recollection of what that testimony was. Do you have a
transcript?

MS. ROGERS: No, your Honor. Then we‘ll simply
put the officer on the stand.

THE COURT: Then you're going to have to put him
on. And your next one, you object to the four-level
increase at paragraph number 17 for an aggravating role
in the offense, and 1 take it that the Government has
or is intending to put evidence on to that effect as
well.

MS. ROGERS: Yes, your Honor. Also, the
Government would be asking at the time that the Court
take judicial notice of -- there's actually five cases,
three in which the Defendant is named. All of these
have been before this Court and have either pled guilty
and been sentenced or at least pled guilty.

There are two other cases, 1've got copies of
everything, 1've provided the Defendant with copies of
these 1nformations and 1ndictments, where the Defendant
is an unindicted co-conspirator; and we would be
offering or asking that the Court take judicial notice
of those as well, where he directs at least five other
individuals, and present the police officer's testimony

to that effect.

 

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MR. D'AMBROSIO: Well, 1 would object to that.
1 don't know what the evidentiary value of an
1ndictment is, your Honor. 1t's hard to say. 1 don't
know what was presented.

THE COURT: Well, 1'm concerned about just
offering up an 1ndictment where he's named as an
unindicted co-conspirator, Ms. Rogers. 1t seems to me
that you've got to have some factual support for the
contention; and there's plenty, 1 think, available to
the Government. 1've heard the guilty pleas of a
number of the Defendant's co-conspirators. And so it
seems to me that you've got plenty out there without
having to go to the 1ndictments that 1 haven't heard
about.

And as a result, you're claiming that his
offense level on Count 1 ought to be 32, and then you
argue about those two prior convictions at paragraphs
32 and 33 which you've advised the Court today remain
standing as convictions in state court.

MR. D'AMBROSIO: That's correct, your Honor.

THE COURT: Okay. Your paragraph number 7 of
your objection, you're making some kind of a double
jeopardy argument.

MR. D'AMBROSIO: Yes, your Honor.

THE COURT: 1 don't understand your argument.

 

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What do you mean?

MR. D'AMBROSIO: Essentially, your Honor, that
the enhancement seeks to impose a multiple punishment.
The punishment being imposed out of these predicate
offenses for which he has already served time is again
being imposed in this case far beyond that which he
would otherwise suffer if it were not for those
predicate offenses.

THE COURT: Okay.

MR. D'AMBROSIO: That is essentially the
argument, Judge.

THE COURT: Okay. 1n your next objection you
say that, under Booker, you think that 1 have authority
to sentence outside the statutory mandatory sentence in
this case. 1s that your argument?

MR. D'AMBROSIO: lt essentially is that insofar
as 1 think one could read Booker, though it does not
precisely stand for this point, to impose an
affirmative obligation on the Government to produce
evidence of the prior convictions as a part of the
trial as well, and that was not done, to subject them
to a jury as well. That's essentially what that
argument is, Again, 1 have no case on point on that,
Judge.

THE COURT: There's a good reason why you don't.

 

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That's not what Booker says. 1 don't understand your
objection in paragraph number 9 of your objections,

MR. D'AMBROSIO: Paragraph 9 and 10 are
essentially extrapolations of the same argument 1 just
made to the Court, which it apparently rejects.

THE COURT: And the same with paragraph 10?

MR. D'AMBROSIO: Yes, your Honor please.

THE COURT: Paragraph number 11, you seem to
concede that a collateral challenge to the underlying
offenses or the predicate offenses is not appropriately
made in this court.

MR. D'AMBROSIO: Yes, Judge.

THE COURT: And then in paragraph 12, what
you're trying to say is that the offenses listed in
paragraphs 32 and 33 are related offenses and so they
should be counted as one. However, the probation
officer 1 think correctly points out that there were
different dates of the arrests and disposition. So
they're not related cases under the guidelines.

1 don't understand your claim in paragraph 13.

MR. D'AMBROSIO: Paragraph 13 was just a -- was
a request upon the Court that the proof beyond a
reasonable doubt standard be applied to the prior
convictions of this Defendant which, again, the Court

had earlier rejected.

 

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THE COURT: 1 don't think that that's the law.

MR. D'AMBROSIO: 1t is not. Paragraph 13 says
it is not, but.

THE COURT: And then you have an Eighth
Amendment argument with respect to the life term.

MR. D'AMBROSIO: Yes, 1 do, Judge. That's in
paragraph 14.

THE COURT: Okay. 1'11 hear the Government.

MS. ROGERS: Your Honor, the Government intended
to call Detective Robert Enright to address the
sentencing guidelines. The Government's understanding
is that Count 11 is statutorily controlled. The
21 U.S.C. 851 1nformation enhancement has properly been
filed. The Defendant is not claiming it's defective in
any way. His claim appears to be that state
convictions might be modified or vacated. That's not
the case today. So that what we're left with really
is, as to Count 1, the sentencing guidelines.

And the Government's understanding is that there
are basically two objections or issues that the
Defendant has raised, the first being his leadership
role, and sub issues in that are that he was directing
other Defendants in the drug trafficking conspiracy and
that his gang affiliation, that he was a leader of the

Latin Kings at the time he was doing this.

 

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The second issue appears to be the obstruction
of justice. And, again, the Government is prepared to
put on testimony of a Providence police officer to
testify regarding the Defendant's offer of 200,000 for
his release on the date of his arrest.

THE COURT: 1 take it that you object to the
Defendant's claim that the mandatory life sentence in
this case is constitutionally defective.

MS. ROGERS: Yes, 1 do. That's not -- there's
no case law holding that it's unconstitutional.

THE COURT: You say that it has not been held
unconstitutional. Do you have a case that says it is
constitutional under the Eighth Amendment?

MS. ROGERS: 1 do not have a cite for that. The
Eighth Amendment cases that 1'm aware of involve the
death penalty. This case is a life term of
imprisonment which the Defendant had the opportunity to
avoid, and it is constitutional under the statute.

THE COURT: How did he have the opportunity to
avoid it?

MS. ROGERS: Several offers were made prior to
trial, before the 1nformation was filed.

THE COURT: Okay. Okay. Proceed with your
witnesses.

MS. ROGERS: The Government calls Detective

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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Robert Enright.

ROBERT ENRIGHT, GOVERNMENT WITNESS, SWORN

 

THE CLERK: Would you please state your name and
spell your last name for the record.
THE WITNESS: Robert M. Enright, E-N-R-I-G-H-T.

DIRECT EXAMINATION

 

BY MS. ROGERS:

Q. Where are you currently employed?

A. 1'm currently employed by the Providence Police
Department.

Q. And how long have you been so employed?

A. Approximately 16 years.
Q. And were you part of the investigation that led to
the eventual indictment of this Defendant?

A. Yes, 1 was,

Q. On October 24th of 2004, were you working on that

day?
A. Yes.
Q. And did you have occasion to have any conversation

or meet with this particular Defendant on that day?
A. Yes, 1 did,

Q. What occurred?

A. Mr. Francisco was transported to the rear of

64 DeXter Street where 1 was located.

Q. Was he read his Miranda warnings?

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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A. Yes.
Q. And did he agree to, or did he waive those
warnings?
A. Yes, he did.
Q. And did he agree to speak with you?
A. Yes.
Q. Did he make any admissions at that time concerning

the Latin Kings?

A. He stated to myself and Detective Dwyer that he was
a member of the Latin Kings.

Q. Did you have or do you have any other evidence
regarding this Defendant and the Latin Kings?

A. There's numerous phone calls that were intercepted
during the Court-ordered intercept of his phone.

Q. We'll get to those in a minute, but is it fair to
say that you listened to every intercept with regard to
this Defendant's telephone in that investigation?

A. Yes, 1 did.

Q. At 64 Dexter Street, crack cocaine and powder
cocaine was found; is that correct?

A. Yes.

Q. Was there any other evidence located that was
related to the Latin Kings?

A. Two sets of beads were seized from that apartment.

Q. Showing you what's been marked Government's

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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Exhibit 1 for identification, do you recognize that?
A. Yes.
Q. What is it?
A. These are the two separate sets of beads that were
seized in Joel Francisco's apartment.
Q. At 64 Dexter Street?
A. Yes.
Q. Are you aware of the significance of those beads?
A. The Latin Kings have three primary colors, black,
red and gold.
Q. Do you know what the colors stand for?
A. Black stands for the knowledge of the ancient
leaders of the Latin Kings, red stands for the
bloodshed of members of the Latin Kings, and gold is
symbolic more or less for prosperity. 1t signifies the

sun shining down on the Latin Kings.

Q. Have you had an opportunity to look at the two
different sets of beads?

A. Yes.

Q. And is there anything that you're aware of with
regard to the numbering of the beads or the pattern of
the beads?

A. Yes. The pattern of the beads is consistent,
meaning that they have to have the same amount, two

separate colors on a set of beads. You can put between

 

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one to five of a certain color, but next to that must
be the same amount of the second color,

1n other words, on this black and red one, there
are three black followed by three red followed by three
black continuously around the whole set of beads.
Q. And is that one of the rules in the Latin Kings?
A. Yes.

MR. D'AMBROSIO: Objection.

THE COURT: BaSiS?

MR. D'AMBROSIO: Foundation.

THE COURT: Overruled on that basis.
Q. Do they appear to be in substantially the same
condition as when they were seized on October 24th of
2004?
A. Yes.

MS. ROGERS: At this time, for purposes of this
hearing, 1 would move Government's 1 as full.

MR. D'AMBROSIO: Objection.

THE COURT: BaSiS?

MR. D‘AMBROSIO: Relevance.

THE COURT: Overruled. Government's 1 is full.

(Government's Exhibit 1 was admitted as a full
exhibit)
Q. Now, you indicated that you listened to every

intercept over the wiretap of Joel Francisco's phone

 

KAREN M. ZlNNl, RPR-RMR-CRR

 

 

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from July of 2004 through October of 2004. Are you
aware of any other co-conspirators or individuals who
this Defendant directed during those intercepts?

A. Reynaldo Rodriguez.

MR. D'AMBROSIO: Objection. Move to strike that
response. 1 believe the question called for a yes or
no response.

THE COURT: Just yes or no.

THE W1TNESS: 1'm sorry, your Honor.

A. Yes, 1 am,

Q. And were you a party to meetings where decisions
were made as to who to charge in this case?

A. Yes.

Q. Are you aware of the names of the other Defendants
that this Defendant directed?

MR. D'AMBROSIO: Objection.

THE COURT: Basis?

MR. D'AMBROSIO: There must be some foundation
for that, 1 think, Judge.

THE COURT: Overruled.

A. Yes.

Q. Who were they?

A. Reynaldo Rodriguez, Miguel Jusino and Joel
Trinidad.

Q. And in what context did he direct these

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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individuals, these three individuals?
A. He would direct them by supplying them with
narcotics and often ordering them where to meet him,

what to do.

Q. Were there any other individuals who he directed?
A. Yes.

Q. Who?

A. Pedro Hernandez, William Cifredo, Juan Guerrero.

Q. And in what context did he direct these
individuals?

A. 1n the same manner. He would inform them when he
had narcotics, where to meet him to get the narcotics
off him and several times what to do with the
narcotics.

Q. Did he also have a girlfriend at the time?

A. Yes, he did.

Q. And did he direct her in any way in the drug
trafficking organization?

A. Absolutely. His girlfriend was Julissa Jaquez.

Q. And what would he direct her to do?

A. At times he would send some of the people 1 already
mentioned over to her house. At a point in the
investigation, she was holding his narcotics. He would
inform Julissa how much, what quantity of narcotics to

give to the suspect he was sending to her house.

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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Q. Did he also give her any directions with regard to
firearms?

MR. D'AMBROSIO: Objection.

THE COURT: BaSiS?

MR. D'AMBROSIO: Leading, and 1 don't believe

it's --

THE COURT: 1 can't hear you.

MR. D'AMBROSIO: 1t's leading.

THE COURT: Sustained. Try not to lead your
witness.

Q. Were any documents found on October 24th, 2004?

A. Yes.

Q. And who did they relate to?

A. Joel Francisco.

Q. What were the documents, and where were they found?
A. They were the charter of the Latin Kings
organization. They were found at 230 Leah Street.

Q. And was that where the Defendant was originally
arrested?

A. He was arrested as he left that residence, yes.
Q. And you indicated there was a charter of the
Latin Kings membership?

A. Yes, more or less the rules and regulations.

Q. Were there any intercepts that you listened to

during the course of this investigation where this

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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Defendant made admissions regarding whether he was the
leader of the Providence Latin Kings?

MR. D'AMBROSIO: Objection, ask to be made more
specific in terms of time,

THE COURT: Let‘s get the yes or no first, and
then we'll try to zero in on a time, Just answer yes
or no.

A. No.

Q. There were no admissions by the Defendant?

A. Specific admissions where he stated, "1'm the
leader of the Latin Kings," no.

Q. Were there any conversations that you listened to
in the intercepts which gave you reason or the
Providence Police reason to believe that he was the
leader of the Latin Kings?

MR. D'AMBROSIO: Objection.

A. Yes.

THE COURT: Sustained. The answer may be
stricken.

Q. Did the Defendant say anything else regarding his
arrest after he was given Miranda warnings?

A. He offered to give me $200,000 to secure his
release.

Q. And what did you do in response to that offer?

A. 1 played it up for a few minutes, but then he just

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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forgot about it, stopped it.
Q. And what do you mean you played it up?
A. 1 told him 1 was interested and how could he get me

the money.

Q. And why did you do that?

A. To see what he was going to say.

Q. And what did he say?

A. He stated he could get $50,000 almost immediately
because he had known a subject who was looking for two
kilos of cocaine in exchange for $50,000.

Q. And why did he say, or what did he want in return
for giving you $200,000?

A. His freedom.

Q. Did he indicate that he wanted to be let go or
expected you to let him go and not charge him?

A. Yes, absolutely.

MS. ROGERS: 1f 1 may have one moment, your

Honor.

THE COURT: Take your time.

(Pause)

MS. ROGERS: 1 have no further questions at this
time.

THE COURT: Cross.

MR. D'AMBROSIO: Please, your Honor.

 

KAREN M. ZlNNl, RPR-RMR-CRR

 

 

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CROSS~EXAMINATION

 

BY MR. D'AMBROSIO:

 

Q. Detective, you testified the color
colors are what?

A. Black, red and gold or yellow.

Q. And it's your testimony that these
related somehow to -- strike that. 1s
testimony that these beads somehow are
membership in the Latin Kings?

A. Yes.

Q. Because they are red, black and go
A. 1'm looking at the totality of the
1 do. Those beads specifically repres

Latin Kings.

-- Latin Kings

beads are
it your

indicative of

ld?
evidence. Yes,

ent beads of the

MR. D'AMBROSIO: Well -- if 1 may approach the

witness, your Honor.

Q. Sir, can you see colors?

A. Excuse me?

Q. Can you see colors, sir?

A. Yes.

Q. You're not color blind, are you?

there, isn't there?
A. On one of the things there is -- 1
purple, actually, with the gold.

Q. Purple. That's not a Latin Kings

There's blue in

believe it's

color, is it?

 

KAREN M. ZINNI, RPR-RMR~CRR

 

 

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A. 1'm not sure.
Latin Kings.
Q. But you testified there were

1 said there were three main

P

Q. Oh, there may be more?
A 1t's possible.

Q. Could it be you're uncertain
actually indicative of the Latin
A. No. 1'm positive what black,
for in the Latin Kings organizati
Q. But you're not certain about
A. 1t's purple; and no, 1'm not.
Q. 1s there any type of structur

in the production of their beads

A. 1 don't understand the questi
it?
\Q. Well, how did you become fami

Latin Kings?

A. These beads?
Q. Any beads.
A. Two ways. 1 talked to the --
Wheeler, who is the expert of the
Providence. He explained them to
their own charter, which is right

Q. And when you read the charter

1 named the three main colors of the

three colors?

colors, 1 believe.

about what colors are
Kings?

red and gold stand
on.

blue?

e the Latin Kings use
that you're aware of?

on. Can you repeat

liar with beads in the

Sergeant Michael
Gang Squad in
me. Secondly, 1 read

there.

, did it say anything

 

KAREN M. ZINNI,

RPR-RMR-CRR

 

 

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about blue or purple beads?

A. No, 1 don't believe so.

Q. When you read the charter, did it say anything
about beads?

A. Yes.

Q. And did it say anything about the denomination or

number of beads that should be on a specific rope of

beads?
A. 1 believe it said between one and five, yes.
Q. One and five?

A. 1 believe that's what it says.

Q. Did it talk about the number of beads being either
120 or 360?

A. 1t may have. 1 don't remember that part.

Q. Did you count these beads?

A. No, 1 did not.

Q. So you don't know how many beads are on each
strand, do you?

A. No. 1 did not count them.

Q. So you don't know whether these beads are actually
in conformance with the charter that you read earlier,
do you?

A. The only thing 1 know is that it matches the
numbers sequence that it's supposed to.

Q. And it kind of matches the colors?

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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1 A. The black and the red definitely match the colors.
2 Q. But the other part doesn't?

3 A. The separate one?

4 Q. Uh-huh.

5 A. 1t has gold. Like 1 stated, 1 don't know what

6 purple stands for.

7 Q. Now, you mentioned a number of people, a Reynaldo
8 Rodriguez, a Mr. Jusino, Joel Trinidad, Pedro

9 Hernandez, Juan Guerrero, Julissa Jaquez. Were you
10 involved in the investigation of all these people?
11 A. Yes.

12 Q. All of them?

13 A. Yes.

14 Q. Do you know which ones, if any, are members of the
15 Latin Kings?

16 A. 1 believe so.

17 Q. Which ones?

18 A. Miguel Jusino, Juan Jusino, Juan Guerrero, Pedro
19 Hernandez.
20 Q. Julissa Jaquez?
21 A. 1 don't think she is.
22 Q. And you based the determination that they were
23 members of the Latin Kings upon what, sir?
24 A. Well, the two Jusino brothers told me they were;
25 Juan Guerrero, through the conversations with

 

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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Mr. Francisco and talking with the gang unit for the
Providence Police and the FBI. Who was the -- Pedro
Hernandez was the other one?

Q. 1'm asking you, sir.

A. Oh, on the telephone on numerous occasions he was
stating about being a Latin King member and reaching
out actually across the country talking to other Latin
King heads.

Q, Okay. Did he ever say that to Mr. Francisco? Do
you recall a conversation that Pedro Hernandez had with
Mr. Francisco discussing that?

A. No.

Q. Do you recall a conversation between Mr. Guerrero
and Mr. Francisco discussing membership in the Latin
Kings?

A. There's one phone call where Mr. Francisco more or
less yells at Mr. Guerrero because Mr. Guerrero allowed
his girlfriend to answer the telephone, breaking a rule
of the Latin Kings.

Q. Did he say, You're breaking a rule of the Latin
Kings?

A. Absolutely. He said, You know that's a rule, and
she's not allowed to answer your phone.

Q. When was that conversation, sir?

A. 1 don't have the exact date, but 1 believe it was

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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in September.
Q. Did you ever hear any conversations between
Mr. Jusino and Mr. Trinidad and the Defendant?
A. Can you break them up for me?
Q. Did you ever hear any conversation between
Mr. Jusino and the Defendant discussing the Latin
Kings?

THE COURT: Which Mr. Jusino?

MR. D'AMBROSIO: Miguel Jusino.
A. Not that 1 can recall.
Q. Do you ever recall any conversation between the
Defendant and Mr. Trinidad discussing the Latin Kings?
A. There's numerous, and 1 mean numerous,
conversations between Mr. Trinidad and Mr. Francisco
where Mr. Trinidad is arguing with Mr. Francisco. The
specific incident 1 can go over with you if you want.
Q. Well, do you recall any dates or times for these
conversations?
A. Oh, one is definitely in October, probably the week
before the end of the investigation,
Q. How many conversations do you recall Mr. Francisco
discussing the Latin Kings?
A. 1'd say over a dozen.
Q. Twelve conversations?

A. Approximately.

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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Q. How many conversations were actually listened to or
intercepted?

A. On just Mr. Francisco's line? 1'm not sure of the
exact number, but 1'11 take a guess, 12,000, 13,000.

Q. Twelve, thirteen thousand?

A. Approximately.

Q. So would it be fair to say, then, out of every
1,000 conversations on Mr. Francisco's line, the Latin
Kings may or may not have been directly or indirectly
referenced? 15 that a fair statement?

A. Yes.

Q. And would it also be a fair statement that in those
12,000 or 13,000 conversations, Mr. Francisco never
came out and said to anyone, "1'm not a member of the
Latin Kings," or, "1 am a member of the Latin Kings"?
A. He never stated either one of those things.

Q. So when you testified that he is a member, you were
surmising that; correct?

A. No. Once again, 1'm going by the totality of all
the evidence. v

Q. And that was the evidence you testified to here
today; correct?

A. And actually the Defendant told me he was a member
of the Latin Kings.

Q. You mentioned some documents that were seized at

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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1 Leah Street?

2 A. Yes.

3 Q. Do you know how old those documents were?

4 A. No.

5 Q. What room in Leah Street from which -- strike that.
6 What room at Leah Street where -- 1'm sorry. 1

7 apologize. From what room at Leah Street were they

8 seized?

9 A. 1'm not sure. 1 didn‘t seize them, and 1 wasn't at
10 230 Leah Street.

11 Q. Any of these documents have the Defendant's name on
12 them?

13 A. There’s a lot of documents there. Some of them do
14 have his name on them, yes.

15 Q. Can you tell us which ones?

16 A. No.

17 MR. D'AMBROSIO: One minute, please, your Honor.
18 (Pause)

19 Q. With respect to those beads again, those are two
20 separate strands, aren't they?
21 A. Two separate sets of beads, yes.
22 MR. D'AMBROSIO: Thank you. Nothing further,
23 your Honor.

24 THE COURT: Any redirect?

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KAREN M. ZINNI, RPR-RMR-CRR

 

 

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REDIRECT EXAMINATION

 

BY MS. ROGERS:

Q. Was Reynaldo Rodriguez also a member or admitted
member of the Latin Kings?

A. Yes.

Q. And he was one of the individuals you referenced
earlier?

A. Yes.

Q. And you mentioned on cross-examination that there
was a specific conversation that you recalled between

the Defendant regarding Latin Kings that occurred in

October?
A. Yes, 1 believe so.
Q. What was that conversation?

A. He was speaking with Mr. Trinidad. Apparently the
night before there had been an argument at a house
where numerous Latin Kings were gathered and

Mr. Francisco shot one of the suspects in the knee with
a gun. Mr. Trinidad called up Mr. Francisco yelling at
him about the incident. Mr. Trinidad kept saying, How
could you do that to one of us? He's one of us. He's
willing to bust a cap with you. He's one of us. He
just kept stating that to him, and he couldn't believe
that Mr. Francisco would shoot the subject over just

arguing, joking around.

 

KAREN M. ZlNNl, RPR-RMR-CRR

 

 

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MR. D'AMBROSIO: Objection. Move to strike the
latter part of that response.

THE COURT: On what basis?

MR. D'AMBROSIO: 1 believe it far exceeds the
question that was asked. 1t became narrative at a
certain point, Judge.

THE COURT: Overruled.

Q. Did you listen to any conversations -- strike that.
Were any documents seized with regard to the Latin
Kings changing some of their rules on how they would
communicate to avoid detection by law enforcement?

A. Can you repeat that?

Q. Are you aware of any evidence in this case where
the Latin Kings, after trials took place, changed
certain methods of communicating or following rules to
avoid detection?

A. Yes.

MR. D'AMBROSIO: Objection.

THE COURT: Just a minute. Sustained. The
answer may be stricken.

Q. Now, the cross-examination included questions with
regard to only one, perhaps, in a thousand phone calls
referencing the Latin Kings. 1n this case --

THE COURT: Ms. Rogers, quite honestly, 1 have

to tell you, and 1 don't know, Mr. D'Ambrosio as well,

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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this isn't a racketeering case. This isn't a case
brought under the Street Gangs Act. Whether or not the
Defendant has an affiliation is something that the
Bureau of Prisons is going to be concerned about, but
it certainly doesn't affect his guideline range.

MS. ROGERS: Then 1'll stop asking questions.

THE COURT: So 1 don't know why we're going down
that road. 1t doesn't affect the guidelines sentence
in this case.

MS. ROGERS: The Government has no further
questions.

THE COURT: Do you have any follow-up?

MR. D'AMBROSIO: Are you aware the Defendant --
1'll withdraw it. Nothing further, Judge.

THE COURT: 0kay. Step down.

THE WITNESS: Thank you, your Honor.

THE COURT: Does the Government have any other
witnesses?

MS. ROGERS: No, your Honor.

THE COURT: 0kay. Does the defense wish to put
on any witnesses?

MR. D'AMBROSIO: No, your Honor.

THE COURT: 0kay. 1'll hear the Government.

MS. ROGERS: Are you looking for argument or the

sentencing recommendation based on the testimony?

 

KAREN M. ZINNI, RPR-RMR~CRR

 

 

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THE COURT: At this point just argument on the
impact of the testimony you've presented as it relates
to the objections raised by the Defendant to the
pre-sentence report.

MS. ROGERS: As stated earlier, the Government's
view on the Defendant's objections basically distill
down to two, the first being leadership role.

Detective Enright has testified that this
Defendant directed five or more other Defendants, five
of which were Latin King members, and had them either
store drugs, narcotics for him, supplied them with
narcotics or told them where to go; and in this sense,
that burden has been met, the leadership role has been
met,

With regard to the gang affiliation, as the
Court has pointed out, whether he's actually a member
of the Latin Kings is a decision for the Bureau of
Prisons. However, the evidence is that there were
other members of Latin Kings and that he was directing
them, which in this context a reasonable inference is
that he was the head of the Latin Kings in the
Providence area at the time of his arrest.

The Defendant also admitted to being a member of
the Latin Kings. And Government's Exhibit 1, there are

two sets of beads, one gold and purple, the other red

 

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and black, and the Detective testified that the red and
black is without a doubt in his mind significant of
Latin King membership. 1t matches the colors of the
Latin Kings, red and black; and the beads are in the
correct sequence and numbering, three beads of each
color in sequence.

The second issue is obstruction of justice. The
detective testified that on the day of his arrest, the
Defendant offered the Providence Police $200,000 for
his arrest. Again, the Government believes that this
testimony was adduced at trial; but at this point the
officer has testified again, and the Government's
argument is the same as probation's, that this
constitutes obstruction of justice where he offered in
order to obstruct the investigation of the case and his
arrest by seeking release basically by bribing or
attempting to bribe the Providence Police.

MR. D'AMBROSIO: Your Honor, may it please the
Court, 1 don't recall any testimony elicited this
morning which would lead the Court to believe that this
Defendant had any more than a passing affiliation with
the Latin Kings, let alone being a leader or organizer
of the Latin Kings.

The testimony offered was, again, that out of

thousands of conversations, there may have been some

 

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with -- that either alluded to or the name Latin King
may have been represented.

However, when specifically asked whether this
Defendant stated he was a member of the Latin Kings or
denied being in that membership, the detective could
not recall but did specifically deny being a leader.
There was no testimony as to him being a leader.

The Government offers its exhibit, a series of
beads which actually are inconsistent with the
detective's own testimony as to the colors affiliated
with the Latin Kings.

Moreover, your Honor, the Government sought or
alluded to, through the testimony of the witness, as to
certain documents seized, as to certain charters, rules
and regulations seized, These documents, the detective
could not state from where they were seized, the date
or remoteness in time of the seizure or when the
documents were produced. And most significantly of
all, your Honor, these documents were not introduced
into evidence for the Court's perusal or consideration.

What the Court has left to consider is the
testimony of the detective which the Defendant would
posit is, at best, equivocal in terms of the
affiliation of the Defendant with the Latin Kings and,

moreover, is downright contrary to any assumption of

 

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leadership by the Defendant within that organization.
For all those reasons, we ask that that
enhancement be denied to the Government.

THE COURT: What enhancement?

MR. D'AMBROSIO: 1 am -- the adjustment. 1'm
sorry, Judge, the finding of --

THE COURT: The adjustment for an aggravating
role --

MR. D'AMBROSIO: The adjustment for an
aggravating role.

THE COURT: -- is not dependent upon whether or

not he's affiliated with a gang.

MR. D'AMBROSIO: 1 understand that, Judge.

THE COURT: That adjustment is made pursuant to
the number of other individuals who were involved in
the drug trafficking activity. Do you want to address
that?

MR. D'AMBROSIO: 1n terms of the drug
trafficking activity, in terms of the individuals
indicated, the Court should note that there was no one
overall 1ndictment of these individuals.

The Government offered a series of 1ndictments
for the Court's consideration, again, 1ndictments
pertaining with little evidentiary value. However, the

named affiliations of these individuals in terms of

 

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whether this Defendant exercised control is, again,
speculative.

The Defendant may have had affiliations with
other people, but whether he was exercising them within
a leadership hierarchy or position of authority, again,
the evidence is bereft in that respect. There may have
been a series of -- excuse me, a series of individual
actions, but whether these were all coordinated or
whether they were set up in such a manner as to place
the Defendant in a leadership posture, again, 1 would
posit is speculative at best.

And for all these reasons, we refer to our
objections previously filed, Judge. Thank you.

THE COURT: Do you want to talk about
obstruction?

MR. D'AMBROSIO: Judge, 1 think -- the basis for
the objection to the pre-sentence report was because 1
had believed -- 1 did not recall hearing that testimony
at trial. 1t may have been offered. Based on that
testimony, 1 did not cross-examine on that particular
ground.

All 1 would say, again, is that it was not
brought before the jury. 1t's being brought before the
Court today. 1 would argue that it should have been

brought before the jury if that enhancement is being

 

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sought. Other than that, 1 have no further objection.

THE COURT: Ms. Rogers, 1 have a question for
you with respect to this particular 1ndictment and the
inclusion of the four-level increase for an aggravating
role as it pertains to Count 1. Count 1 of this
1ndictment names this Defendant alone.

MS. ROGERS: Yes.

THE COURT: And charges him with knowingly and
intentionally possessing with intent to distribute the
500 grams or more of cocaine.

The guideline talks about his role in that
offense. There's not a conspiracy charged. There are
not Co-Defendants charged in that particular count of
the 1ndictment. So 1 guess what 1'm asking you is, how
do we assign him a leadership role in an offense where
he is the only person charged?

The Government, it seems to me, and
Mr. D'Ambrosio makes the point, did not indict all of
these individuals together. The Government saw fit --
in fact, in Mr. Francisco's case, he's got three others
pending where he's named with other individuals, and
those matters are scheduled to be tried; but this is
one 1ndictment charging him with one date in October of
2004 with possessing in excess of 500 grams of cocaine.

MS. ROGERS: The Government --

 

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THE COURT: So how do you include the five
others?

MS. ROGERS: The Government did not indict in an
overarching conspiracy because of the wheel-and-spoke
conspiracy case law where the Government admits it
would have had difficulty proving that the other
co-conspirators that surrounded this Defendant were
aware of each other and were working in concert with
each other.

However, the Government's position is still that
the evidence shows this Defendant directed each of the
co-conspirators individually and that he is chargeable
or held accountable under the relevant conduct portion
of the United States Sentencing Guidelines where this
particular case that went to trial involved a large sum
of crack cocaine and a significant sum of cocaine. He
clearly was involved --

THE CGURT: Those were the seizures that were
made on October 24th?

MS. ROGERS: Yes, and the evidence at trial
showed that he was in the business of distributing that
cocaine, crack and powder, throughout the term of the
wiretap, which encompassed July through October of
2004.

THE COURT: Okay.

 

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MS. ROGERS: And all of the 1ndictments involved
activity that occurred in that same time period and
involved conversations or part of the proof --

THE COURT: 1 understand that this was part of a
wiretap investigation and that there were a number of
other people, and 1've sentenced a number of other
people who were heard on those wiretaps in conversation
with this Defendant.

But the concern that 1 have is that in the
vehicle that you've used here, he's got one offense on
one date. And what you're saying to me, 1 guess, is
that looking at the relevant conduct, 1 take into
account all of the other individuals, and that's how
the enhancement applies.

MS. ROGERS: That's the Government's position.

THE COURT: Did you want to address that
further?

MR. D'AMBROSIO: No, your Honor.

THE COURT: Okay. 1'll rule on each of the
Defendant's objections as they relate to the guidelines
calculations with respect to Count 1 starting with his
first one, that is, that the indication in the
pre-sentence report that the cases of William Cifredo,
David Batista and Miguel Jusino are related cases. As

1 said, that one does not affect the guidelines range

 

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at all.

With respect to the second objection, and that
is as to whether or not the Defendant admitted that he
was a member of the Latin Kings, we have heard now the
testimony of Officer Enright who has testified here
today under oath that on the date of the Defendant's
arrest, he admitted to Officer Enright that he was a
member of the Latin Kings organization. And so 1 find
that testimony to be both credible and undisputed in
this case.

As to whether or not this Defendant was the
leader or not the leader, 1 don't know whether he was
or he wasn't; but he certainly has admitted that he was
a member of that organization, and so the reference to
his affiliation that is contained in the pre-sentence
report shall stand.

With respect to the two-level increase that the
probation officer included for obstruction of justice
pursuant to 3C1.1 of the guidelines, again, Officer
Enright testified here today that on the date of his
arrest, this Defendant offered a substantial sum of
money to the arresting officer to let him go.

The Defendant named the number of $200,000 and
told Officer Enright that he had $50,000 of it in

earnest money if the officer would permit him to leave,

 

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thereby giving him an opportunity to flee.

And under the guideline, certainly the
Defendant's attempt to bribe the arresting officer
would have obstructed or impeded the administration of
justice during the investigation and prosecution of
this Defendant, and so that two-level increase 1 find
was properly added.

With respect to the four-level increase included
by the probation officer at paragraph number 17, that
four-level increase was added pursuant to Guideline
3Bl.1, which is entitled "Aggravating Role." And it
says that based on the Defendant's role in the offense,
that the Court should increase the offense level
pursuant to subsection (a). 1f the Defendant was an
organizer or leader of a criminal activity that
involved five or more participants or was otherwise
extensive, then his offense level should be increased
by four levels.

And the application note goes on to define who
is a participant, and it includes a person who is
criminally responsible for the commission of the
offense but need not have been convicted.

Application Note 2 says that to qualify for this
adjustment, the Defendant must have been the organizer,

leader or manager of one or more participants; and here

 

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the Court has heard testimony that this Defendant gave
direction to at least five other individuals who were
also engaged in drug distribution.

Officer Enright has testified to having listened
in on conversations that this Defendant had with at
least five other individuals where he would tell those
individuals where the drugs were stored, how to access
them and where to make deliveries or where to make
pick-ups, as the case may be,

The probation officer, as 1 said, included this
enhancement because it appeared from the prosecution
version that this Defendant had control over other
individuals in the course of his drug dealing activity.

1 find that the enhancement was properly
assessed against the Defendant given the fact that
there were at least five other individuals with whom he
was conversing over the telephone, who were receiving
direction from him in the same activity that he stands
convicted of here in Count 1, and that is the
possession with intent to distribute in excess of
500 grams of cocaine. So the offense level was
properly determined to be 38 for the offense in
Count 1.

The Defendant has correctly pointed out that in

United States v. Booker, the Supreme Court has directed

 

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1 sentencing Courts to look at the guidelines in an
2 advisory capacity. All of his arguments with respect
3 to a requirement under Booker that the Court has to
4 make these determinations pursuant to a -- the standard
5 of beyond a reasonable doubt or that these
6 determinations should have been made by a jury 1 think
7 have been addressed in Booker.
8 The Supreme Court in finding that the guidelines
9 were advisory dispensed with the notion that those
10 sorts of sentencing enhancements would have to be found
11 by a jury beyond a reasonable doubt, and so the Court
12 has made those determinations here today under the
13 lesser standard of preponderance of the evidence in
14 accordance with Booker.
15 1n this case, the guidelines calculation is
16 almost academic. This Defendant, by virtue of two
17 prior convictions and the Government's filing of a
18 sentencing enhancement 1nformation pursuant to Title 21
19 of the United States Code, Section 851, and his
20 conviction on Count 11 of the 1ndictment, is subject to
21 a mandatory life sentence.
22 And so 1'11 hear the Government now on sentence.
23 MS. ROGERS: As to Count 1, under the
24 guidelines, the Government is recommending a 360-month
25 term imprisonment, which is the low end of the

 

 

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guidelines. There is a mandatory $100 special
assessment, and the Government is recommending the
eight years' supervised release. Again, as the Court
has pointed out, it is probably academic.

As to Count 11, by statute, the Government is
recommending the mandatory life term imprisonment.
There is no term of supervised release imposed on a
life imprisonment sentence. However, the $100 special
assessment is mandatory for a total of $200.

Probation has reviewed this Defendant's
finances, and it does not appear that he has the
financial wherewithal to pay a fine; and where he is
facing lifetime incarceration, a fine would be also
academic. So the Government is not recommending that a
fine be imposed.

THE COURT: Mr. D'Ambrosio.

MR. D'AMBROSIO: Yes, your Honor. With respect
to Count 1, the Defendant would ask that this Court
impose a sentence at the low end of the guidelines or
even below it if the Court would deem fit in view of
the rather serious ramifications that are attended to
imposition of sentence at Count 11.

Again, the term of supervised release as such,
again, may or may not be a moot point; but, again, we

would ask for the lowest possible term under that

 

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statute -- under the appropriate guideline.

Your Honor, with respect to Count 11, the
Defendant would renew his objection to the imposition
of sentence in that term for the reasons set forth in
his earlier memorandum, that the sentence sought to be
imposed is grossly disproportionate to the criminality,
the criminal culpability of this Defendant and his
prior offenses.

The record should reflect that this Defendant
was -- possessed a small amount of cocaine, both simple
possession charges, in state court seven or eight years
ago; and those two prior predicate offenses converted
what would have been, while a lengthy sentence, into a
lifetime -- into a potential lifetime imprisonment
situation.

1t seems, out of a basic sense of fairness or
justice, that Congress could not have actually
importuned to create this situation. 1t appears to be
one where, although the statute speaks of felony drug
offenses, it strikes the Defendant as particularly odd
that while these two prior offenses were state
felonies, they may have been federal misdemeanors under
the analogue federal provision.

Again, we would just ask this Court to consider

the proportionality of the sentence to be imposed on

 

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Count 11 and if the Court were to find that the penalty
authorized by statute cannot pass constitutional
muster. Thank you, your Honor.

THE COURT: Mr. Francisco, before 1 impose
sentence, is there anything you would like to say?

MR. D'AMBROSIO: Your Honor, 1've discussed this
with the Defendant. 1nsofar as he still has three
pending cases, he determined that he does not wish to
make any statements to the Court today. 13 that
correct?

THE DEFENDANT: Yes.

THE COURT: You're waiving your right of
allocution?

THE DEFENDANT: Yes, your Honor.

THE COURT: Mr. Francisco, this is an incredibly
impossible situation. You are a highly intelligent
individual. You come from a family that is intact.

Are those all your family members back there?

THE DEFENDANT: Yes, your Honor.

THE COURT: They're hard-working people who
tried to show you how to live a law-abiding life. They
still care about you. They're here. Even knowing what
sentence 1 have to impose today, they're here. That's
something that most Defendants who stand where you are

on the day of sentencing don't have. Most people who

 

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come through here are here because they don't -- they
didn‘t have a family that cared about them and so they
turned to the streets.

1 don't know what it is that made you turn to
the streets. 1 don't know why, after going through the
Ocean Tides program, that you didn‘t turn it around.
That was a good program. You got your GED there or you
got your high school diploma there?

THE DEFENDANT: High school diploma.

THE COURT: You got a high school diploma.
You're no dummy. You even started college. What a
waste. What a waste.

The guidelines in this case, as Mr. D'Ambrosio
has said, and 1'm talking now about Count 1 because
Count 1 is controlled by the guidelines, even Count 1,
frankly, the guideline sentence is a sentence that 1
would not impose.

The low end of that guideline range calls for a
sentence of 30 years. The most amount of time you ever
got in state court, and most of the sentence was
suspended, was 20 years. So under Booker, 1 would not
be inclined to follow the guidelines.

Section 3553 talks about a sentence that is --
that the sentence imposed should be sufficient, but not

longer.than necessary, to accomplish the goals of

 

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sentencing, which here are to punish, to deter, that
is, to keep you and others from committing the same
kinds of offenses, and at the same time to keep you
from doing what you were doing, protect the public from
you because you're a public health menace. You're out
there purveying poison.

The sentence also has to promote respect for the
law. And when 1 see a guideline range that starts at
30 years and goes to life, 1 really start to wonder
whether that sentence would promote respect for the law
because it has to make sense even to you.

And so 1 have to say that 360 months, which is
based essentially on the types of drugs involved here,
but 1 think it's universally thought by those of us who
are in the sentencing business that to base a sentence
on an artificial factor like the amount of drugs
involved just doesn't make sense, that what we really
ought to be doing is looking at the offender, and
you're no angel.

1'm saying this to you, Mr. Francisco, because 1
don't know what will happen. 1 assume you're going to
take an appeal, and 1 would encourage you to do so. 1
don't know what's going to happen; but if by some
chance you end up getting out, 1 would hope that you

take what 1 say here today to heart because you have

 

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the ability to turn it around, you have the ability to
fly straight, you have the ability to be a productive
member of society if you just turn around and do what
the people who are sitting in the back of the courtroom
have been telling you to do for the past 10 years while
you've been trying to be a tough guy out there on the
streets.

And so the sentence that 1 would impose that 1
think is more than adequate to accomplish the factors
that are set forth in 3553, that 1 think does promote
respect for the law, is a sentence of 180 months on
Count 1. And 1 say that, as 1 said, because you have
to see some light at the end of the tunnel, and a
sentence of 180 months does just that.

1t stops you from selling drugs, so it protects
the public from you. 1t will maybe ring home to you
that you can't do this, and at the same time it will
punish you; but it also leaves open, like 1 said, that
light at the end of the tunnel so that you can make up
your mind while you're in prison serving that sentence
to clean up your act, get yourself some job training so
that when you get out you can be a productive member of
society.

That's the sentence 1 would impose. 1 have to

impose the $100 special assessment on that count, and 1

 

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would impose a sentence of five years of supervised
release with respect to Count 1. 1 guess it calls for
not less than eight. 1s that right, Barry?

THE PROBAT1ON OFFICER: Yes, your Honor.

THE COURT: So 1 have to impose the eight years

of supervised release on Count 1. The problem,
Mr. Francisco, is that Count 11. This is not my
sentence. This is the sentence of Congress. This was

a sentence that was decided before you committed the
offense.

This was a sentence, in effect, that you gave
yourself by doing two things, one, committing the
offense and, two, forcing the Government to file the
enhancement. So in a sense you chose the life
sentence, and 1 don't know whether you regret that
today or not. 1 suspect you do. But whatever
motivated you to take that path, you'll have to
reconcile that in your own mind.

And so with respect to Count 11, in accordance
with the law, 1 must impose a sentence of life
imprisonment. 1 must also impose the $100 special
assessment. 1 impose no fine on either count since 1
find the Defendant does not have the ability to pay a
fine, and 1 impose no supervised release on Count 11

because of the life term.

 

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Now, Mr. Francisco, you have a right to appeal
the sentence 1've imposed. As 1 said, 1 would
encourage you to file an appeal. 1 don't know whether
you're going to prevail on appeal. Your lawyer here
has argued that the mandatory life sentence is a
violation of your constitutional rights.

Unfortunately for you, the case law up until now
does not support that claim; but you have nothing to
lose at this point, and so 1 would suggest that you
file your appeal.

1f you cannot afford an attorney to file that
appeal for you, you should advise the Court, and
counsel will be appointed. Do you understand that?

THE DEFENDANT: Yes, your Honor.

THE COURT: You also have only 10 days from
today within which to file that Notice of Appeal. 1f
you fail to file the Notice of Appeal within 10 days,
you will have lost your right to take an appeal. Do
you understand that?

THE DEFENDANT: Yes, your Honor.

THE COURT: Mr. Francisco, 1 don't know what
else to tell you. As 1 said, the sentence that 1've
had to impose here today 1 have had to impose because 1
swore an oath to uphold the law, and 1 swore that oath

to uphold the law whether 1 agree with the law or not.

 

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1 do not make the law.

But you got the sentence that the law requires
today, as 1 said, by virtue of the choices you made in
this case and the choices you made in your life.

Anything further from the Government?

MS. ROGERS: No, your Honor.

THE COURT: Counsel?

MR. D'AMBROSIO: Your Honor, would the Court
consider a recommendation to the Bureau of Prisons that
the Defendant be kept in custody in the northeastern
United States?

THE COURT: Well, 1'll make a recommendation
that he be placed in a facility that is near Rhode
ISland so that he may maintain contact with his family.

MR. D'AMBROSIO: Thank you, your Honor.

THE COURT: That's the best 1 can do. 1'd like
to see counsel in chambers.

(Adjourned)

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

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C E R T 1 F l C A T 1 O N

1, Karen M. Zinni, RPR-RMR-CRR, do hereby
certify that the foregoing pages are a true and
accurate transcription of my stenographic notes in the

above-entitled case.

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/ 114 mr
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Karen M. zinni, RPR~`MR-cRR

Date

 

KAREN M. ZINNI, RPR-RMR-CRR

 

 

